Case 18-03895-5-SWH               Doc 27 Filed 04/18/19 Entered 04/18/19 14:13:51                            Page 1 of 10
  B 2100A (Form 2100A) (12/15)

                                    UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                          WILMINGTON DIVISION

  IN RE:
   SHARON S HONEYCUTT
                                                                              Case No. 18-03895-5-SWH



                             TRANSFER OF CLAIM OTHER THAN FOR SECURITY

  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
  evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
  claim referenced in this evidence and notice.

   Nationstar Mortgage LLC d/b/a Mr. Cooper                     Guaranteed Rate, Inc
   Name of Transferee Servicer                                  Name of Transferor

   Name and Address where notices to transferee should          Claim No (if known): 7
   be sent:                                                     Amount of Claim: $272,393.65
   Nationstar Mortgage LLC d/b/a Mr. Cooper                     Date Claim Filed: October 12, 2018
   Bankruptcy Department
   PO Box 619096
   Dallas TX 75261-9741

   Phone: 877-343-5602                                          Phone: (800)-669-0340 ext-6732
   Last Four Digits of Acct#: 8115                              Last Four Digits of Acct#: 2055

   Name and Address where transferee payments should
   be sent (if different than above):
   Nationstar Mortgage LLC d/b/a Mr. Cooper
   Bankruptcy Department
   PO Box 619094
   Dallas TX 75261-9741
   Phone: 877-343-5602
   Last Four Digits of Acct#: 8115

  I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
  my knowledge and belief. This the 18th day of April, 2019.

                                                   /s/ Andrew Lawrence Vining
                                                   Andrew Lawrence Vining, Attorney for Creditor, Bar # 48677
                                                   avining@logs.com |704-831-2286
                                                   Shapiro & Ingle, LLP
                                                   10130 Perimeter Pkwy, Suite 400
                                                   Charlotte, NC 28216
                                                   Phone: 704-333-8107 | Fax: 704-333-8156
                                                   Supervisory Attorney Contact: Grady Ingle
                                                   gingle@logs.com | 704-831-2217
                                                   Electronic Service Notifications: ncbkmail@shapiro-ingle.com

  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
  §§ 152 & 3571.
page1
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2660
                                                                                          03/13/2019                OUR INFO
                                                                                                                    ONLINE
                                            8950 Cypress Waters Blvd.                                               www.mrcooper.com
                                            Coppell, TX 75019

                                                                                                                    YOUR INFO
                                                                                                                    DEBTOR(S)
                                                                                                                    SHARON HONEYCUTT
                                                                                                                    CASE NUMBER


        SHARON HONEYCUTT                                                                                            LOAN NUMBER
        3111 FORBUSH CREEK CT
        WILMINGTON, NC 28412                                                                                        PROPERTY ADDRESS
                                                                                                                    3111 FORBUSH CREEK CT
                                                                                                                    WILMINGTON, NC 28412




        Dear Sharon Honeycutt:

        Mr. Cooper recently acquired your mortgage. Our records indicate you recently ﬁled for bankruptcy. This letter is for
        informational purposes only and provides important information for you while your loan is being serviced by the Bankruptcy
        Department at Mr. Cooper.

        If you ﬁled for protection under Chapter 7 and would like to reaﬃrm the debt please contact our oﬃce at 877-343-5602 to request
        a Reaﬃrmation Agreement. The Reaﬃrmation Agreement must be ﬁled no later than sixty (60) days after the ﬁrst date set for the
        Meeting of Creditors. Once the Reaﬃrmation Agreement is ﬁled, you may rescind the agreement at any time prior to the entry of a
        discharge order in the bankruptcy case or within 60 days of the ﬁling, whichever is longer.

        If you intend to retain the property and interested in discussing loss mitigation opportunities, please contact one of our
        Bankruptcy Loss Mitigation representative at 877-343-5602. Our hour of operation are Monday through Friday from 8 a.m. to 5
        p.m. (CT) or via mail at PO Box 619096, Dallas, TX 75261-9741.

        Payments during the pendency of the bankruptcy case can be mailed, sent via Western Union or Money Gram. If you are mailing
        your payment, please send to the following address and include your loan number:

                                                                            Mr. Cooper
                                                                          PO Box 619094
                                                                       Dallas, TX 75261-9741

        Payments sent via Western Union should reference the following information:

                                                                        Pay to: Mr. Cooper
                                                                      Code City: MRCOOPER
                                                                         Code State: TX

        Payments sent via Money Gram should utilize reference code: ***1678***

        All other correspondence should be sent to:

                                                                            Mr. Cooper
                                                                          PO Box 619096
                                                                       Dallas, TX 75261-9741



        Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
        Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
        Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
        recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
        discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
        debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
        obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
        attempt to collect against the borrower personally or an attempt to revive personal liability.
        If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
        loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
        attempt to collect a debt from you personally.
                                                                                                                                                         43-119-B
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If your account was setup on a monthly electronic funds transfer (ACH) or monthly reoccurrence of Western Union payments for
your monthly payment prior to ﬁling bankruptcy, the ACH and Western Union reoccurrence is suspended upon notiﬁcation of the
bankruptcy ﬁling. Mr. Cooper doesn’t permit loans active within bankruptcy to be setup on a monthly electronic payment
transfer. You may send a Western Union monthly; however, when the information from Western Union is received it must not be
listed as a reoccurring payment.

If you have any additional questions, including possible loss mitigation opportunities available to help you retain your home, your
Dedicated Loan Specialist is Christina Lorenzo and can be reached at (866)-316-2432, Monday through Friday from 8 a.m. to 5
p.m. (CT) or via mail at PO Box 619096 Dallas, TX 75261-9741.

Sincerely,

Mr. Cooper
Bankruptcy Department



CC: CHRISTOPHER VONDERAU
    4022 SHIPYARD BLVD
    WILMINGTON, NC 28403
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Legal Rights and Protections Under the SCRA

Servicemembers on "active duty" or "active service," or a spouse or dependent of such a servicemember may be entitled to certain
legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC App. §§ 501-597b) (SCRA).

Who May Be Entitled to LegalProtections Under the SCRA?

         Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps and Coast Guard}.
         Reserve and National Guard personnel who have been activated and are on Federal active duty.
         National Guard personnel under a call or order to active duty for more than 30 consecutive days under section 502(f ) of
         title 32, United States Code, for purposes of responding to a national emergency declared by the President and supported
         by Federal funds.
         Active service members of the commissioned corps of the Public Health Service and the National Oceanic and
         Atmospheric Administration
         Certain United States citizens serving with the armed forces of a nation with which the United States is allied in the
         prosecution of a war or military action.

What Legal Protections Are Servicemembers Entitled To Under the SCRA?

         The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering military
         service shall not bear interest at a rate above 6 % during the period of military service and 90 days thereafter, in the case of
         an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a mortgage, or during the
         period of military service in the case of any other obligation or liability.
         The SCRA states that in a legal action to enforce a debt against real estate that is ﬁled during, or within one year after the
         servicemember's military service, a court may stop the proceedings for a period of time, or adjust the debt. In addition, the
         sale, foreclosure, or seizure of real estate shall not be valid if it occurs during or within 90 days after the servicemember's
         military service unless the creditor has obtained a valid court order approving the sale, foreclosure, or seizure of the real
         estate.
         The SCRA contains many other protections besides those applicable to home loans.

How Does A Servicemember or Dependent Request Relief Under the SCRA?

         In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse must
         provide a written request to the lender, together with a copy of the servicemember's military orders. Mr. Cooper, Attn:
         Military Families, PO Box 619098, Dallas, TX 75261-9741
         There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy of a
         servicemember's military orders to the lender in connection with a foreclosure or other debt enforcement action against
         real estate. Under these circumstances, lenders should inquire about the military status of a person by searching the
         Department of Defense's Defense Manpower Data Center's website, contacting the servicemember, and examining their
         ﬁles for indicia of military service. Although there is no requirement for servicemembers to alert the lender of their
         military status in these situations, it still is a good idea for the servicemember to do so.

How Does a Servicemember or Dependent Obtain Information About the SCRA?

         Servicemembers and dependents with questions about the SCRA should contact their unit's Judge Advocate, or their
         installation's Legal Assistance Oﬃcer.A military legal assistance oﬃce locator for all branches of the Armed Forces is
         available at http://legalassistance.law.af.mil/contenUiocator.php
         "Military OneSource" is the U.S. Department of Defense's information resource. If you are listed as entitled to legal
         protections under the SCRA (see above), please go to www.militaryonesource.mil/leqal or call 1-800-342-9647 (toll free
         from the United States) to ﬁnd out more information. Dialing instructions for areas outside the United States are provided
         on the website.

If this account is active or has been discharged in a bankruptcy proceeding,be advised this communicationis for informationalpurposes only and not an attempt to
collect a debt. Please note. However, Mr. Cooper reserves the right to exercise the legal rights only against the property securing the original obligation.
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North Carolina Residents: Nationstar Mortgage LLC d/b/a Mr. Cooper is licensed by the North Carolina Commissioner of
Banks, Mortgage Lender License L-103450. Nationstar Mortgage LLC d/b/a Mr. Cooper is also licensed by the North Carolina
Department of Insurance, Permit Numbers: 105369 (8950 Cypress Waters Blvd., Dallas, TX 75019), 112715 (4000 Horizon Way,
Irving, TX 75063), 105368 (2501 S. Highway 121 Business, Ste. 100, Lewisville, TX 75067), 111828 (2501 South Price Road, Ste.
105, Chandler, AZ 85286), 112954 (110 Triple Creek Drive, Ste. 10, Longview, TX 75601), 113359 (1600 East St. Andrew Place, Ste.
100, Santa Ana, CA 92705), 113470 (2780 Lake Vista Drive, Lewisville, TX 75067) and 113471 (800 State Highway 121 Bypass,
Lewisville, TX 75067). If you believe a Loss Mitigation request has been wrongly denied, you may ﬁle a complaint with
the North Carolina Oﬃce of the Commissioner of Banks website www.nccob.gov.
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                                                                                  03/13/2019                OUR INFO
                                                                                                            ONLINE
                                                                                                            www.mrcooper.com

CHRISTOPHER VONDERAU
                                                                                                            YOUR CLIENT'S INFO
4022 SHIPYARD BLVD
                                                                                                            DEBTOR(S)
WILMINGTON, NC 28403
                                                                                                            SHARON HONEYCUTT
                                                                                                            CASE NUMBER

                                                                                                            LOAN NUMBER


                                                                                                            PROPERTY ADDRESS
                                                                                                            3111 FORBUSH CREEK CT
                                                                                                            WILMINGTON, NC 28412




Dear CHRISTOPHER VONDERAU:

Mr. Cooper recently acquired the above referenced mortgage. Our records indicate your client recently ﬁled for bankruptcy. This
letter is for informational purposes only and provides important information for your client while their loan is being serviced by
the Bankruptcy Department at Mr. Cooper.

If your client ﬁled for protection under Chapter 7 and would like to reaﬃrm the debt please contact our oﬃce at 877-343-5602 to
request a Reaﬃrmation Agreement. The Reaﬃrmation Agreement must be ﬁled no later than sixty (60) days after the ﬁrst date
set for Meeting of Creditors. Once the Reaﬃrmation Agreement is ﬁled, your client may rescind the agreement at any time prior
to the entry of a discharge order in the bankruptcy case or within 60 days of the ﬁling, whichever is longer.

If your client is retaining the property and interested in loss mitigation opportunities, please complete the attached authorization
form and return to Mr. Cooper. Bankruptcy Loss Mitigation representatives may be contacted at 877-343-5602 , Monday through
Friday from 8 a.m. to 5 p.m. (CT) or via mail at PO Box 619096 Dallas, TX 75261-9741.

Payment during the pendency of the bankruptcy case can be mailed, sent via Western Union or Money Gram. If your client is
mailing their payment, please send to the following address and include their loan number:

                                                                    Mr. Cooper
                                                                  PO Box 619094
                                                               Dallas, TX 75261-9741

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                                                                pay to: Mr. Cooper
                                                              Code City: MRCOOPER
                                                                 Code State: TX


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attempt to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
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Payments sent via Money Gram should utilize reference code: ***1678***

All other correspondence should be sent to:

                                                        Mr. Cooper
                                                      PO Box 619096
                                                   Dallas, TX 75261-9741

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Sincerely,

Mr. Cooper
Bankruptcy Department



CC: SHARON HONEYCUTT
    3111 FORBUSH CREEK CT
    WILMINGTON, NC 28412


Enclosure: Authorization Form
       Case 18-03895-5-SWH                            Doc 27 Filed 04/18/19 Entered 04/18/19 14:13:51                                                   Page 8 of 10




CHRISTOPHER VONDERAU
4022 SHIPYARD BLVD                                                                                            Loa
WILMINGTON, NC 28403



RE: Home Mortgage Assitance Request

CHRISTOPHER VONDERAU:

Mr. Cooper would like to provide the opportunity to assist your client with their mortgage. With the debtor in an active
bankruptcy, we are seeking your assistance in obtaining information in order to process an accurate evaluation of assistance
programs available.

In order to be able to quickly complete any review of assistance requested by your client, or due to current processes requested by
bankruptcy district requirements, we are asking for approval of your ﬁrm by signature below to be allowed direct contact with
your client so that we can discuss any opportunities available or obtain any necessary information in order to promptly complete
our review.

Mr. Cooper is very aware of the importance of communication while a debtor is in an active bankruptcy case and seek to work
with you in regards to providing the best possible scenario for your client regarding their mortgage, while in an active bankruptcy
case.

At your earliest convenience, please complete the information below and return with a cover sheet from your ﬁrm, by facsimile to
972-459-1611 so that we may have this document for our record.

We are very aware of the importance of communication while a debtor is in an active bankruptcy case and seek to work with you
in regards to providing the best possible scenario for your client regarding their mortgage.

Sincerely,
Mr. Cooper
Bankruptcy Department

By signature below, authorization is provided for Mr. Cooper to have a direct contact with our client (Client
Name)______________________ for the purpose of obtaining information/discussion of potential loss mitigation/loan
assistance program regarding the debtor(s) home mortgage.

Date ____________________________________                                             Firm name __________________________________________


Attorney or authorized party signature ___________________________________________________________________________

Firm telephone number ___________________________                                     Fax number __________________________________________




If this debt is in or has been discharged in a bankruptcy proceeding, be advised this communication is not an attempt to collect the debt against you. Please note, however, we reserve
the right to exercise the legal rights only against the property securing the original obligation.
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        National Guard personnel under a call or order to active duty for more than 30 consecutive days under section 502(f ) of
        title 32, United States Code, for purposes of responding to a national emergency declared by the President and supported
        by Federal funds.
        Active service members of the commissioned corps of the Public Health Service and the National Oceanic and
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        Department of Defense's Defense Manpower Data Center's website, contacting the servicemember, and examining their
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        installation's Legal Assistance Oﬃcer.A military legal assistance oﬃce locator for all branches of the Armed Forces is
        available at http://legalassistance.law.af.mil/contenUiocator.php.
        "Military OneSource" is the U.S. Department of Defense's information resource. If you are listed as entitled to legal
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      Case 18-03895-5-SWH              Doc 27 Filed 04/18/19 Entered 04/18/19 14:13:51                     Page 10 of
                                                        10




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105, Chandler, AZ 85286), 112954 (110 Triple Creek Drive, Ste. 10, Longview, TX 75601), 113359 (1600 East St. Andrew Place, Ste.
100, Santa Ana, CA 92705), 113470 (2780 Lake Vista Drive, Lewisville, TX 75067) and 113471 (800 State Highway 121 Bypass,
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the North Carolina Oﬃce of the Commissioner of Banks website www.nccob.gov.
